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                        SAN DIEGO COUNTY PROBATION
                     12 DEPARTMENT
                     13                     UNITED STATES DISTRICT COURT
                     14                  SOUTHERN DISTRICT OF CALIFORNIA
                     15
                     16 DARRYL DUNSMORE, ANDREE               Case No. 3:20-cv-00406-AJB-DDL
                        ANDRADE, ERNEST ARCHULETA,
                     17 JAMES CLARK, ANTHONY                  NOTICE OF ERRATA TO
                        EDWARDS, REANNA LEVY, JOSUE           DECLARATION OF ELIZABETH
                     18 LOPEZ, CHRISTOPHER NORWOOD,           M. PAPPY IN SUPPORT
                        JESSE OLIVARES, GUSTAVO               DEFENDANTS’ MOTION FOR
                     19 SEPULVEDA, MICHAEL TAYLOR,            RECONSIDERATION OF ORDER
                        and LAURA ZOERNER, on behalf of       [DKT. 468] GRANTING MOTION
                     20 themselves and all others similarly   TO COMPEL PRODUCTION OF
                        situated,                             CIRB RECORDS
                     21
                                    Plaintiffs,               Judge: Hon. David D. Leshner
                     22
                               v.                             Judge: Anthony J. Battaglia
                     23
                        SAN DIEGO COUNTY SHERIFF’S            Magistrate Judge David D. Leshner
                     24 DEPARTMENT, COUNTY OF SAN
                        DIEGO, SAN DIEGO COUNTY
                     25 PROBATION DEPARTMENT, and
                        DOES 1 to 20, inclusive,
                     26
                                    Defendants.
                     27
                     28
B URKE , W ILLIAMS &
   S ORENS EN , LLP
  ATTO RNEY S AT LAW                                          1              Case No. 3:20-cv-00406-AJB-DDL
    LOS A NG EL ES                                                    NOTICE OF ERRATA TO DECLARATION
              Case 3:20-cv-00406-AJB-DDL            Document 887 Filed 04/15/25         PageID.46290       Page
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                       1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                       2         PLEASE TAKE NOTICE that Defendant COUNTY OF SAN DIEGO
                       3 (“Defendant”) submits this Notice of Errata with respect to the Declaration of Elizabeth
                       4 Pappy as follows:
                       5                                  CORRECTIONS TO NOTICE
                       6         1.     Attached hereto is Exhibit B, inadvertently omitted from the Pappy
                       7 Declaration.
                       8
                       9 Dated: April 15, 2025                       BURKE, WILLIAMS & SORENSEN, LLP
                   10
                   11
                                                                     By:
                   12
                                                                           Susan E. Coleman
                   13                                                      Elizabeth M. Pappy
                   14                                                      Attorneys for Defendants
                                                                           COUNTY OF SAN DIEGO, SAN
                   15                                                      DIEGO
                   16                                                      COUNTY SHERIFF’S
                                                                           DEPARTMENT and SAN DIEGO
                   17                                                      COUNTY PROBATION
                   18                                                      DEPARTMENT

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   S ORENS EN , LLP
  ATTO RNEY S AT LAW                                                   2                 Case No. 3:20-cv-00406-AJB-DDL
     CAMARILLO                                                                    NOTICE OF ERRATA TO DECLARATION
              Case 3:20-cv-00406-AJB-DDL           Document 887 Filed 04/15/25         PageID.46291      Page
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                       1                            CERTIFICATE OF SERVICE
                       2        I hereby certify that on this 15 day of April, 2025, I electronically filed the
                       3 foregoing NOTICE OF ERRATA TO DECLARATION OF ELIZABETH M.
                       4 PAPPY IN SUPPORT DEFENDANTS’ MOTION FOR
                       5 RECONSIDERATION OF ORDER [DKT. 468] GRANTING MOTION TO
                       6 COMPEL PRODUCTION OF CIRB RECORDS with the Clerk of the Court
                       7 using the CM/ECF system which will send notification of such filing to the
                       8 following:
                    9 Gay C. Grunfeld, Esq.                                Attorneys for Plaintiffs and the
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  ATTO RNEY S AT LAW                                                  3                Case No. 3:20-cv-00406-AJB-DDL
     CAMARILLO                                                                  NOTICE OF ERRATA TO DECLARATION
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                                 I also certify the document and a copy of the Notice of Electronic Filing was
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                           served via email on the following non-CM/ECF participants:
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  ATTO RNEY S AT LAW                                                 4                Case No. 3:20-cv-00406-AJB-DDL
     CAMARILLO                                                                 NOTICE OF ERRATA TO DECLARATION
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                      Exhibit
                        B
                Case 3:20-cv-00406-AJB-DDL                                                                                             Document 887 Filed 04/15/25               PageID.46294         Page
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Prasad, Komal

From:                                                                                                                       Pappy, Elizabeth M.
Sent:                                                                                                                       Monday, February 10, 2025 10:42 AM
To:                                                                                                                         Gay C. Grunfeld; Van Swearingen; Aaron Fischer; Hannah Chartoff; Ben Holston; Eric
                                                                                                                            Monek Anderson; Michael Freedman; Young, Christopher; Kiefer, Oliver
Cc:                                                                                                                         Coleman, Susan E.
Subject:                                                                                                                    Dunsmore v. SDSO: Return and Destruction of all CIRB Documents Immediately
Attachments:                                                                                                                Greer CIRB case.pdf

Importance:                                                                                                                 High


Counsel,

As you may be aware, the 9th Circuit reversed the ruling in Greer v. County of San Diego. Demand is hereby made
that all documents relating to CIRB including PPT, summaries, reports, notes, memoranda, and records be
returned to this o ice immediately and your copies will be destroyed. We are currently reviewing what has been
produced to your o ice in this litigation and will provide a list, but your o ices must undertake immediate e orts
to identify said documents and begin returning them and destroying all copies.

You must cease and desist from distribution of any CIRB related documents to anyone inside or outside your
ﬁrms.

Please immediately provide a list of names and contact information for all individuals/entities to whom the
documents have been provided at any point in time as they need to be contacted and instructed to return and
destroy the documents. This includes your experts, news agencies, other attorneys prosecuting cases against the
County, and everyone else.

Please conﬁrm receipt of this email and that you will immediately cease and desist from distributing any such
information and take the above actions.

Thank you.



Elizabeth M. Pappy | Partner
she, her, hers

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SENDER NAMED ABOVE AT 800.333.4297. Thank you.

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